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AO 106(Rev. 04/10) Applicationfor a Search Warrant



                                     United States District Court
                                                                     for the
                                                         Eastern District of Virginia                           Jll 24 2UI/
               In the Matter of the Search of
         (Briefly describe the property to be searched                 )
          or identify the person by name and address)                  )           Case No. 1:17-SW-442
                       3401 Audubon Avenue                             )
                     Alexandria, Virginia 22306                        )
                                                                       )              UNDER SEAL

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrantand state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person ordescribe the
property to be searched and give its location):

  See Attachment A

located in the             Eastern                District of              Virginia               , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check oneor more):
                 afevidence ofacrime;
                 sf contraband, fruits ofcrime, or other items illegally possessed;
                 sf property designed for use, intended for use, or used in committing acrime;
                 O a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

               Code Section                                                           Offense Description

        21 use §§ 841(a)(1) and 846                Conspiracy to distribute cocaine.

          The application is based on these facts:
        See attached Affidavit


           •    Continued on the attached sheet.
           • Delayed notice of       days (giveexactendingdate if more than 30 days:                                      ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet


     Reviewed by SAUSA Lena                                                                      Applicant's signature
     Munasifi
                                                                                        Task Force Officer Justin Chung, DEA
                                                                                                 Printed name and title


Sworn to before me and signed in my presence.                                                                    Is/
                                                                               /           —Theresa Carroll Buchanan
Date:               )A       II                                                               United Slatp.s Magistrate Judgt
                                                                                                   Judge's signature

City and state: Alexandria, Virginia                                                       Honorable Theresa C. Buchanan
                                                                                                 Printed name and title
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                                           ATTACHMENT A


                                   LOCATION TO BE SEARCHED



The address known as 3401 AUDUBON AVENUE, ALEXANDRIA, VIRGINIA is a single level,

single family trailer/dwelling. The dwelling is constructed of light gray siding accented with red

shutters. The numbers '3401' are bronze in color and are affixed to an awning, located over a

small landing/porch that serves as the entry way into the trailer/dwelling. The front door is red in

color and the trailer/dwelling has a white screen door.




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                                        ATTACHMENT B

                LIST OF ITEMS AUTHORIZED TO BE SEARCHED-FOR
              AND SEIZED PURSUANT TO FEDERAL SEARCH WARRANT

                      3401 AUDUBON AVENUE, ALEXANDRIA, VIRGINIA

1.      Controlled substances, specifically including, but not limited to a) cocaine and b) residue
        of each/any particular illicit drug

2.      Items used in the sale, transfer, transportation, packaging and use of cocaine and/or other
        controlled substances, including scales, plastic wrap, plastic bags, tape, papers, pipes,
        written articles on the use and effects of narcotics, diluents and cutting agents.

3.      Items used in the manufacture or cooking of cocaine and/or other controlled substances,
        including precursor chemicals, chemistry guides, glassware and flasks.

4.      Documents related to or memorializing the ordering, purchasing, storage, transportation
        and sale of controlled substances, including U.S. currency used in the purchase and sale of
        controlled substances, buyer lists, seller lists, pay-owe sheets and records of sales, log
        books, drug ledgers, personal telephone/address books of customers and suppliers,
        rolodexes, telephone answering pads, bank and financial records, records relating to
        domestic and foreign travel such as tickets, passports, visas, credit card receipts, travel
        schedules, receipts and records, trucker log books and storage records, such as storage
        locker receipts and safety deposit box rental records.

5.      Articles of personal property documenting or containing evidence of the existence of a
        conspiracy to possess and sell controlled substances, including personal telephone and
        address books, telephone bills, photographs and documents consisting oflists ofnames and
        or numbers, personal data assistants, computers, and computer storage media including
        hard disk drives, compact disks and zip disks.

6.      Articles of personal property evidencing or containing the evidence of the obtaining,
        secreting, transfer, expenditure and/or the concealment of money and assets derived from
        or to be used in the sale of controlled substances, including books, receipts, records, bank
        statements and records, business records, money drafts, money orders, wire transfer
        receipts, and cashier's check receipts, passbooks, bank checks, safes, records of safety
        deposit boxes and storage lockers, personal data assistants, computers, and computer
        storage media including hard disk drives, compact disks and zip disks.

7.      Proceeds and articles of personal property which are the fmits, instrumentalities and
        evidence of trafficking in controlled substances, including U.S. currency, precious metals
        and stones, jewelry, negotiable instruments and financial instruments including stocks and
        bonds, which were obtained from the sale of controlled substances or proceeds therefrom.

8.      Photographs of participants and fruits and evidence of the trafficking of controlled
        substances.


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9.       Weapons, firearms, ammunition and any booby-trap devices.

10.      Equipment used to detect police activities and surveillance, including radio scanners, wire
         transmitter detectors and closed circuit camera systems.

11.      Documents and articles of personal property showing or containing data showing the
         identity of persons occupying, possessing, residing in, owing, frequenting or controlling
         the premises to be searched or property therein, including keys, rental agreements and
         records, property acquisition records, utility and telephone bills and receipts, photographs,
         answering machine tape recordings, telephone beeper or pager devices, cellular telephones,
         wireless telephones, rolodexes, telephone answering pads, storage records, vehicle or
         vessel records, canceled mail envelopes, correspondence, opened or unopened, financial
         documents such as tax returns, bank records, safety deposit box records, canceled checks
         and other records of incomes and expenditures, credit card and bank records, personal data
         assistants, computers, and computer storage media including hard disk drives, compact
         disks and zip disks.

12.      Documents showing travel to and from source/distribution areas for narcotics and
         documents showing travel to and from consumer areas for narcotics including foreign and
         domestic passports.

13.      Waybills, air bills, bills of lading, receipts, delivery notices, and other shipping
         documentation from the U.S. Postal Service, small package carriers, or common carriers
         which indicate the shipment ofpackages and parcels containing controlled substances.



         NOTE: Any wireless or cellular telephones shall be searched for the information set forth
         in this Attachment including recent calls, contact lists, stored text messages, emails, and
         any other stored files or data.

         The search authorized by this Warrant for the subject property is of the entire premises,
         including all buildings, outbuildings, garages, yard areas, trash containers, storage areas
         and containers used in connection with or within the curtilage of the SUBJECT
         PREMISES.




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                   IN THE UNITED STATES DISTRICT COURT FOR THE -                             ,        :     ~
                              EASTERN DISTRICT OF VIRGINIA                    '
                                                                                       Ji^i.24 20]/
 IN THE MATTER OF THE SEARCH OF                       )                           ._
                                                      )    NO. l:17-sw-%2 S'                         ' r-
 3401 Audubon Avenue                                  )                            -     -       "    -     i
 Alexandria, Virginia 22306                           )    UNDER SEAL


         AFFIDAVIT IN SUPPORT OF A SEARCH AND SEIZURE WARRANT


        I, Justin Chung, Task Force Officer of the Drug Enforcement Administration (DEA),

Washington Division Office (WDO), Washington, D.C., being duly sworn, depose and state the

following:

   1.        I am "an investigative or law enforcement officer" of the United States within the

   meaning of Title 18, United States Code, Section2510(7), that is, an officer of the United

   States who is empoweredby law to conduct investigations of and to make arrests for offenses

   enumerated in Section 2516 of Title 18, United States Code. I am deputized under Title 21

   authority by the DEA to investigate narcotic related offenses. I have been a Law

   Enforcement Officer with the Arlington County Police Departmentsince Decemberof 1997

   and with the Organized Crime Section, Narcotics Enforcement Unit, Arlington CountyPolice

   Department for approximately five years. I have been a task force officerwith the DEA for

   approximately two years.

   2.        During my time in law enforcement, I have participated in the applicationfor and

   execution of numerous arrest and search warrants in the investigation ofnarcotics and

   organized crime related offenses, resulting in the prosecution and conviction of numerous

   individuals and the seizure of illegal drugs, drug proceeds in the form of bulk U.S. currency,

   weapons, and other evidence of criminal activity. As a narcotics investigator, I have

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interviewed many individuals involved in drug trafficking and have obtained information

from them regarding the acquisition, sale, importation, manufacture, and distribution of

controlled substances. Through my training and experience, I am familiar with the methods

used by traffickers of controlled substances and the nature and appearance of illegal

narcotics. I have received extensive training in drug identification, drug distribution

methods, and drug enforcement techniques firom various federal, state, and local agencies,

including the NorthernVirginiaCriminal Justice Academy and the VirginiaDepartment of

Criminal Justice.


3.       Based upon this experience, I have become knowledgeable of the methods and

modes of narcotics operations, and the language and patterns of drug abuse and trafficking.

During the course of my participation in investigations of narcotics trafficking organizations,

I have testifiedin trial, grandjury proceedings, and at preliminary and detentionhearings.

Through my employment with the Arlington County Police Department and tenure withthe

DEAas a task force officer, I have gained knowledge in the use of various investigative

techniques, including the utilization of wiretaps, physical surveillance, undercover agents,

confidential informants, cooperating witnesses, the controlled purchases of illegal narcotics,

electronic surveillance, consensually monitored recordings, investigative interviews,

financial investigations, the service of administrative and grandjury subpoenas, and the

execution of search and arrest warrants.


                                      BACKGROUND


     4. This affidavit is presented in support of an application for a warrant to search and

        seize relevant evidence found in the following property located within the Eastern
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         District of Virginia: 3401 Audubon Avenue, Alexandria, Virginia 22306 (the

         "SUBJECT PREMISES"), as further described in Attachment A.

   5.    This affidavit contains information necessary to support probable cause for this

         appHcation. It is not intended to include each and every fact and matter observed by

         me or known to the government regarding the investigation. I have set forth only

         those facts necessary to support probable cause.

   6. Law enforcement officers utilized two cooperating sources (hereinafter "CS-l" and

         "CS-2") during this investigation. The CS's information has been corroborated

         through various investigative techniques, to include analysis of telephone toll records

         and various surveillance techniques. Wherepossible, the information providedby the

         CSs has been corroborated. To my knowledge, none of the information that the CSs

         has provided to law enforcement has proved to be false, misleading or inaccurate in

         any material respect. For these reasons, I have deemed the CS's information to be

         reliable.


                       FACTS ESTABLISHING PROBABLE CAUSE


    7. The DEA Washington Division Office (WDO) Amiandale HIDTA Group 12 and the FBI

         Northern Virginia Resident Agency Group CR-7 initiated an investigation targeting a DTO

         involved in the transportation of cocaine to, and the distribution of cocaine in, northern

         Virginia.

    8.   In late 2016, CS-l was introduced to a Mexico-based narcotics source of supply

         (SOS) known only to CS-l as "La Iguana," and later identified as VENEGAS. CS-l

         had numerous telephonic communications with La Iguana, who indicated he was

         part of a poly-drug trafficking organization (DTO) involved in the transportation and

         distribution of narcotics in Houston, Texas, Atlanta, Georgia, Chicago, Illinois,
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       South CaroUna, and northern Virginia region. La Iguana indicated he was using an

       Atlanta-based courier, known by the alias "El VENADO," to transport cocaine from

       Atlanta to northern Virginia and provided the phone number for "El VENADO" to

       CS-1. In February 2017, after a series oftelephonic conversations with "El

       VENADO," CS-1, under the direction and supervision of law enforcement, traveled

       to the Atlanta, Georgia area and met with "El VENADO." During the meeting,

       which was surveilled by law enforcement, "El VENADO" indicated he was

       primarily involved in the distribution of methamphetamine and marijuana. "El

       VENADO" also confirmed he had transported cocaine to a northern Virginia-based

       associate.



    9. During follow up conversations with CS-1, VENEGAS indicated the DTO had 50

       kilograms of cocaine available forpurchase in the Chicago, Illinois area and quoted

       CS-1 a price of $29,500 per kilogram. VENEGAS added his associate in

       Alexandria, Virginia, had kilogram quantities of cocaine available for purchase and

       quoted CS-1 a price of $33,000 per kilogram. VENEGAS facilitated contact

       between CS-1 and the Alexandria-based associate, later identified as Jose de Jesus

       REYES-Orozco (REYES), by providing CS-1 with REYES' phone number. CS-1

       had various communications with REYES via voice and text message regarding a

       potentialnarcotics transaction. In late February 2017, at the direction of

       investigating agents, CS-1 advisedREYES that he had a potential customerfor him.

       This proposed customer is CS-2.

    10. In early March of 2017, CS-1 provided law enforcement agents with a contact

       number and information for REYES. In early March of 2017, CS-2 was provided


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       REYES' phone number by law enforcement. CS-2 contacted and arranged a

       meeting with REYES.

    11. From March 2017 through July 2017 law enforcement conducted one controlled

       meeting where CS-2 obtained a sample of cocaine and five (5) controlled purchases

       from REYES with the assistance of CS-2.


                             CONTROLLED INITIAL MEETING


    12. On March 3, 2017, agents met CS-2 at a predetermined location in Alexandria,

       Virginia, within the Eastern District of Virginia. At the direction of law enforcement,

       CS-2 called REYES and established a time to meet at a restaurant. During the

       meeting, REYES quoted CS-2 a price of $1,250 U.S. currency (USC) per ounce of

       cocaine. At one point during the meeting, REYES went into the men'sbathroom.

       When REYES returned, REYES provided CS-2 with a sample of cocaine concealed

       within a crumpled up paper receipt. REYES indicated he (REYES) could supply CS-

       2 with whatever CS-2 needed and stated that CS-2 comes "highly recommended."

       CS-2 returned to the staging areawhere CS-2 gavelaw enforcement the sample of

       cocaine that REYES had givenhim. The cocaine was submitted to the DEAMid-

       Atlantic Laboratory for testing, storage, and safekeeping. The laboratory results

       indicatedthat the net weight contained approximately .58 grams of cocaine

       hydrochloride (HCL).

                                CONTROLLED PURCHASE #1


    13. In early March of 2017, law enforcementagents instructed CS-2 to facilitate the

       purchase of four (4) ounces of cocaine from REYES. CS-2 engaged in consensually

       recorded phone calls with REYES. CS-2 discussedthe purchase of four (4) ounces
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        of cocaine for $5,000 USC. CS-2 and REYES agreed to meet on March 9, 2017, at a

        restaurant located in Alexandria, Virginia, within the Eastern District of Virginia to

        complete the transaction. On that day, CS-2 met with REYES, under law

        enforcement monitoring, and was provided four (4) ounces of cocaine in exchange

        for $5,000 USC. CS-2 met with law enforcement and turned over approximately four

        ounces of suspected cocaine. The cocaine was submitted to the DEA Mid-Atlantic

        Laboratory for testing, storage, and safekeeping. The laboratory results indicated

        that the net weight contained approximately 111.38 grams of cocaine hydrochloride

        (HCL).

                                 CONTROLLED PURCHASE #2


     14. On March 28, 2017, law enforcement agents instructed CS-2 to facilitate the

        purchase of two (2) ounces of cocaine from REYES. CS-2 had a telephonic

        conversation with REYES and negotiated the purchase of two ounces of cocaine for

        $1,250 USC per ounce. CS-2 advised REYES that CS-2 would meet him at a store

        parking lot located in Alexandria, Virginia, within the Eastern District of Virginia.

        On that day, CS-2 met with REYES, under law enforcement monitoring, and

        purchased two (2) ounces of cocaine for $2,500 USC. CS-2 met with and gave law

        enforcementapproximately two ounces of suspected cocaine purchased from

        REYES. A field test of the substance CS-2 obtained during the controlled purchase

        was positive for the presence of cocaine.- The cocaine was submitted to the DEA

        Mid-Atlantic Laboratory for testing, storage, and safekeeping. The laboratory

        results are pending.
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                                 CONTROLLED PURCHASE #3


     15. Again, in late April 2017, law enforcement agents instructed CS-2 to facilitate the

        purchase of two (2) ounces of cocaine from REYES. CS-2 had a telephonic

        conversation with MARTINEZ, a co-conspirator of REYES, and advised

        MARTINEZ that CS-2 would meet him at a store parking lot located in Alexandria,

        Virginia, within the Eastern District of Virginia. CS-2 met with MARTINEZ, under

        law enforcement monitoring, and purchased from MARTINEZtwo ounces of

        suspected cocaine for $2,500 USC. CS-2 met with and gave law enforcement

        approximately two ounces of suspected cocaine purchased from MARTINEZ as

        facilitated and negotiated with REYES. A field test of the substance CS-2 obtained

        during the controlled purchase was positive for the presence of cocaine. The cocaine

        was submitted to the DEA Mid-Atlantic Laboratory for testing, storage, and

        safekeeping. The laboratory results are pending.

                                 CONTROLLED PURCHASE #4


     16. In late May 2017, law enforcement agents instructed CS-2 to facilitate the purchase

        of four (4) ounces of cocaine from REYES. On June 1,2017, law enforcement agents

        met with CS-2 at a staging area and searched CS-2 and a UC vehicle for the presence

        of U.S.currencyand contraband with negative results.CS-2wasprovidedwith $5,000

        USC and an audio recording and transmitting device. CS-2 had a telephonic

        conversation with REYES and advised REYES that CS-2 would meet him at a store

        parking lot located in Alexandria, Virginia, within the Eastern District of Virginia.

        Prior to meeting, surveillance units observed REYES arrive at the SUBJECT

        PREMISES. Law enforcement observed CS-2 depart the staging area in the UC
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        vehicle and maintained visual contact of CS-2 as he arrived at the meet location at a

        shopping centerparking lot located on Richmond Highway in Alexandria, within the

        Eastern District of Virginia. Surveillance units observed REYES leave the SUBJECT

        PREMISES and arrive at the meet location driving a 2007 Nissan Altima.

        Surveillance units observed REYES exit the Nissan Altima and enter the UC vehicle

        with CS-2. CS-2 and REYES moved to a different area of the parking lot and

        conducted the drug transaction. After a short period of time, upon completion of the

        transaction, surveillance units observed REYES exit the UC vehicle, and walk into

        two nearby stores. Surveillance units tracked REYES' movements until he re-entered
                                  I

        the Nissan Altima and departed the area. Surveillance units observed REYES retum

        back to the SUBJECT PREMISES and observed REYES enter into the residence. CS-

        2 returned to the staging area where CS-2 gave law enforcement approximately four

        ounces of suspected cocaine. Law enforcement retrieved the audio recording and the

        transmitting device and searched CS-2 and the UC vehicle for U.S. currency and

        contraband with negative results. A field test of the substance CS-2 obtained during

        the controlled purchase was positive for the presence of cocaine. The cocaine was

        submitted to the DEA Mid-Atlantic Laboratory for testing, storage, and safekeeping.

        The laboratory results are pending.

                               SEIZURE OF DRUG PROCEEDS


     17. On or about June 23, 2017, during the monitoring of an active Till intercept for

        TARGET TELEPHONE 1 being utilized by REYES, a call was intercepted between

        REYES and Auri Amabilia LOPEZ-MACHUCA (LOPEZ). REYES arranged a

        meeting involving the exchange of cash. A monitored and recorded conversation and



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        text between LOPEZ and REYES indicated that REYES would be meeting LOPEZ at

        a location in Arlington, Virginia located in the Eastern District of Virginia. Law

        Enforcement was able to monitor REYES' movements electronically through cell

        tower information. REYES was tracked leaving the vicinity of SUBJECT PREMISES

        based on cell tower information. Law enforcement responded to the area and was able

        to locate the meeting location and establish surveillance. Law enforcement observed

        and video recorded an exchange between LOPEZ and REYES. Law enforcement was

        able to corroborate the captured conversation between LOPEZ and REYES and

        observed a transfer of money from REYES to LOPEZ. Law enforcement conducted a

        traffic stop of a vehicle driven by LOPEZ who was the sole occupant. Law

        enforcement requested and was given consent to search LOPEZ'S vehicle. Upon

        searching the vehicle, law enforcement recovered approximately $13,000 U.S.

        currency divided into two bundles wrapped with rubber bands. Amongst the U.S.

        currency seized, law enforcement identified approximately $4,100 U.S. currency that

        had been recorded and provided to CS-2 as evidentiary funds for a cocaine transaction

        conducted with REYES on or about June 1, 2017. LOPEZ stated to law enforcement

        that her intention was to ship the currency to Mexico.

                                 CONTROLLED PURCHASE #5


     18. In early July 2017, law enforcement agents instructed CS-2 to facilitate the purchase

        of one ounce of cocaine from REYES. On July 7, 2017, law enforcement agents met

        with CS-2 at a staging area and searched CS-2 for the presence of U.S. currency and

        contraband with negative results. CS-2 was provided with $1,300 USC and an audio

        recording and transmitting device. CS-2 had a telephonic conversation with REYES
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        and advised REYES that CS-2 would meet him at a store parking lot located in

        Alexandria, Virginia, within the Eastern District of Virginia. Prior to meeting,

        surveillance units observed REYES at the SUBJECT PREMISES. Law enforcement

        dropped CS-2 at the meet location at a shopping center parking lot located on

        Richmond Highway in Alexandria, Virginia. Surveillance units observed REYES

        leave the SUBJECT PREMISES and without any stops or pauses, arrive at the meet

        location driving a white Chrysler 300 sedan with Maryland registration 8CR3945.

        Surveillance units observed CS-2 enter the white Chrysler 300 sedan where CS-2 and

        REYES conducted the drug transaction. Upon completion of the transaction,

        surveillance units observed CS-2 exit REYES' vehicle, and walk into a nearby store.

        Surveillance units tracked REYES until he departed the area. Surveillance units

        observed REYES return back to the SUBJECT PREMISES and observed REYES

        enter into the residence. CS-2 returned to the staging area where CS-2 gave law

        enforcement approximately one ounce of suspected cocaine. Law enforcement

        retrieved the audio recording and the transmitting device and searched CS-2 for U.S.

        currency and contraband with negative results. A field test of the substance CS-2

        obtained during the controlled purchase was positive for the presence of cocaine. The

        cocaine was submitted to the DEA Mid-Atlantic Laboratory for testing, storage, and

        safekeeping. The laboratory results are pending.

    19. On May 26, 2017 and on July 6, 2017 the Honorable Liam O'Grady, United States

       District Judge, Eastern District of Virginia signed an Order authorizing the

       interception of wire and electronic commxmications of REYES. Historical and real

       time cell tower information was provided with interception of wire and electronic



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       communications. Based on the location data provided, law enforcement has been able

       to check locations that REYES frequents. Law enforcement has been able to establish

       that the SUBJECT PREMISES is currently REYES' primary residence.

     20. Based on my training and experience, I am aware that:

           a.       Drug traffickers often place assets in names other than their own or

           corporate entities to avoid detection of these assets by government agencies. Even

           though these assets are in other persons names, drug dealers actually own and

           continue to use these assets and exercise dominion and control over them.

           b.      Drug traffickers often maintain, on hand and in their residences, large

           amounts of United States currency in order to maintain and finance their on-going

           criminal activities.


           c.      Drug traffickers commonly make and maintain business records.

           Specifically, it is quite common for those involved in the manufacture, sale,

           purchase, and transportation of controlled substances to generate and maintain

           writings, books, records, receipts, notes, ledgers, lists, airline tickets, money orders,

           package and shipping labels, and other memoranda to assist in their criminal

           activities. These materials are created and maintained in much the same way and

           for the same reasons as persons involved in legitimate businesses. The reason for

           this is that drug traffickers must maintain records in order to know the current status

           of the various illegal transactions in which they are involved. Since the activity is,

           by its very nature, clandestine and involves multiple complex financial transactions

           and the possibility of error and mistake is considerable due to the number,

           complexity and frequency of the various transactions without the aid of records.



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          d.        Drug traffickers commonly conceal contraband, including cocaine, and

          proceeds of drug sales, and records of drug transaction in secure locations within

          their residences ^d/or on their properties for their ready access and to conceal from

          law enforcement.


          e.        Drug traffickers conceal in their residences drugs, currency, financial

          instructions, precious metals, jewelry, and other items of financial transactions

          relatingto obtaining,transferring,secreting,or the spending oflarge sums ofmoney

          made from engaging in narcotics trafficking activities.

          f         Drug traffickers often amass large proceeds from the sale of controlled

          substances and attempt to legitimize these profits, often utilizing domestic banks

          and their attendant services, securities, cashiers, checks, money draft and orders,

          letters of credit, brokerage houses, real estate, shell corporations and business

          fronts.


          g.        Drug traffickers commonly maintain addresses or telephone numbers in

          books or papers, which reflect names, addresses and/or telephone numbers of their

          associates in drug trafficking.    They also store such information, as well as

          photographs, messages, and personal notes in electronic equipment including, but

          not limited to, computers, cellular phones and other electronic software and

          mediums.


          h.        Drug traffickers often take or cause to be taken photographs and/or

          videotape of themselves, their associates, their property, and evidence of their drug

          trafficking. These are usually maintained in their possessionsand/or residences.

          i.        Drug traffickers commonly utilized cellular phones and digital display


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           contact pagers as well as other communication devices, to keep in constant contact

           with their suppliers, associates, and clients in drug trafficking.

           j.      Drug traffickers have been known to utilize computers and all electronic

           data processing units, to include all internal and external storage devices and related

           hardware and software that might include addresses or telephone numbers in

           computerized files which reflect names, addresses and/or telephone numbers of

           their associates in drug trafficking. They also utilize computers to maintain and

           electronically record receipts, notes, ledgers, owe sheets, financial information,

           money orders, and other papers relating the transportation, ordering, sale, and

           distribution of controlled substances. Drug traffickers have also been known to

           utilize computers as a communications device to keep in constant contact withtheir

           suppliers, associates, and clients in drug trafficking through the use of internet

           service providers and electronic mail systems.

           k.      Drug traffickers often keep paraphernalia forpackaging, cutting, weighing,

           and distributing narcotics, and these paraphernalia include, but are not limitedto,

           scales, plastic bags, cutting agents, andother items used to package andstore drugs

           so they can be distributed without being easily detected.

                                      CONCLUSION


     21. Based on the information provided in this affidavit, probable cause exists to believe

        that evidence of narcotics trafficking in violation of Title 21, United States Code,

        Sections 841(a)(1) and 846, specifically those items set forth in Attachment B, are

        contained within the premises known as SUBJECT PREMISES, located at 3401




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           AUDUBON AVENUE, ALEXANDRIA,VIRGINIA further described in Attachment

           A.


        22, Wherefore, pursuant to Rule 41 of the Federal Rules of Criminal Procedure, I

           respectfully request a warrant to search the SUBJECT PREMISES.




                                                   Ju;8(&rChung
                                                        Force Officer
                                                   Drug Enforcement Administration




                                    r2> day of July 2017.
Sworn and subscribed to before me the
                                        /s/
                            eresa Carroll Buchanan
                         United States Magistrate Judge
The Honorable Theresa C. Buchanan
United States Magistrate Judge




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                                           ATTACHMENT A


                                   LOCATION TO BE SEARCHED



The address known as 3401 AUDUBON AVENUE, ALEXANDRIA, VIRGINIA is a single level,

single family trailer/dwelling. The dwelling is constructed of light gray sidingaccented with red

shutters. The numbers '3401' are bronze in color and are affixed to an awning, located over a

small landing/porch that serves as the entryway into the trailer/dwelling. The front door is red in

color and the trailer/dwelling has a white screen door.




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                                          ATTACHMENT B

                 LIST OF ITEMS AUTHORIZED TO BE SEARCHED-FOR
               AND SEIZED PURSUANT TO FEDERAL SEARCH WARRANT

                       3401 AUDUBON AVENUE, ALEXANDRIA, VIRGINIA

1.       Controlled substances, specificallyincluding, but not limited to a) cocaine and b) residue
         of each/any particular illicit drug

2.       Items used in the sale, transfer, transportation, packaging and use of cocaine and/or other
         controlled substances, including scales, plastic wrap, plastic bags, tape, papers, pipes,
         written articles on the use and effects of narcotics, diluents and cutting agents.

3.       Items used in the manufacture or cooking of cocaine and/or other controlled substances,
         includingprecursor chemicals, chemistry guides, glassware and flasks.

4.       Documents related to or memorializing the ordering, purchasing, storage, transportation
         and sale of controlled substances, including U.S. currency used in the purchase and sale of
         controlled substances, buyer lists, seller lists, pay-owe sheets and records of sales, log
         books, drug ledgers, personal telephone/address books of customers and suppliers,
         rolodexes, telephone answering pads, bank and financial records, records relating to
         domestic and foreign travel such as tickets, passports, visas, credit card receipts, travel
         schedules, receipts and records, trucker log books and storage records, such as storage
         locker receipts and safety deposit box rental records.

5.       Articles of personal property documenting or containing evidence of the existence of a
         conspiracy to possess and sell controlled substances, including personal telephone and
         addressbooks, telephone bills, photographs and documents consisting oflists ofnames and
         or numbers, personal data assistants, computers, and computer storage media including
         hard disk drives, compact disks and zip disks.

6.       Articles of personal property evidencing or containing the evidence of the obtaining,
         secreting, transfer, expenditure and/or the concealment of money and assets derived from
         or to be used in the sale of controlled substances, including books, receipts, records, bank
         statements and records, business records, money drafts, money orders, wire transfer
         receipts, and cashier's check receipts, passbooks, bank checks, safes, records of safety
         deposit boxes and storage lockers, personal data assistants, computers, and computer
         storage media including hard disk drives, compact disks and zip disks.

7.       Proceeds and articles of personal property which are the fhiits, instrumentalities and
         evidence of trafficking in controlled substances, including U.S. currency, precious metals
         and stones,jewelry, negotiable instruments and financial instruments including stocks and
         bonds, which were obtained firom the sale of controlled substances or proceeds therefrom.

8.       Photographs of participants and fhiits and evidence of the trafficking of controlled
         substances.


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9.    Weapons, firearms, ammunition and any booby-trap devices.

10.   Equipment used to detect police activities and surveillance, including radio scanners, wire
      transmitter detectors and closed circuit camera systems.

11.   Documents and articles of personal property showing or containing data showing the
      identity of persons occupying, possessing, residing in, owing, frequenting or controlling
      the premises to be searched or property therein, including keys, rental agreements and
      records,property acquisitionrecords, utility and telephonebills and receipts,photographs,
      answeringmachinetape recordings,telephonebeeper or pager devices,cellular telephones,
      wireless telephones, rolodexes, telephone answering pads, storage records, vehicle or
      vessel records, canceled mail envelopes, correspondence, opened or unopened, financial
      documents such as tax returns, bank records, safety deposit box records, canceled checks
      and other records of incomes and expenditures, credit card and bank records, personal data
      assistants, computers, and computer storage media including hard disk drives, compact
      disks and zip disks.

12.   Documents showing travel to and firom source/distribution areas for narcotics and
      documents showing travel to and from consumer areas for narcotics including foreign and
      domestic passports.

13.   Waybills, air bills, bills of lading, receipts, delivery notices, and other shipping
      documentation from the U.S. Postal Service, small package carriers, or conmion carriers
      which indicate the shipment ofpackages and parcels containing controlled substances.



      NOTE: Any wireless or cellular telephones shall be searched for the information set forth
      in this Attachment including recent calls, contact lists, stored text messages, emails, and
      any other stored files or data.

      The search authorized by this Warrant for the subject property is of the entire premises,
      including all buildings, outbuildings, garages, yard areas, trash containers, storage areas
      and containers used in connection with or within the curtilage of the SUBJECT
      PREMISES.




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